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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                              Case No. 12-CR-20287
 v.
                                                              HON. MARK A. GOLDSMITH
 ALEXANDRA NORWOOD, et al.,

                   Defendants.
 _____________________________/

            MEMORANDUM OPINION REGARDING JURY INSTRUCTIONS

                                       I. INTRODUCTION

        Before the Court are the proposed jury instructions submitted by the parties, the

 Government’s first and second objections (Dkts. 673 and 684), and Defendants’ first and second

 responses (Dkts. 679 and 692). Generally, the parties agreed to the most of the instructions.

 There was, however, some disagreement, particularly the parties’ positions concerning the

 instructions for Count I — the RICO-conspiracy charge. After due consideration of the papers

 and oral argument held on July 16, 2014, the Court thereafter instructed the jury in accordance

 with the rulings contained in this Opinion.

                                          II. ANALYSIS

        1. The Preliminary Instructions

        The Court addressed Defendants’ objection that the preliminary instructions — that the

 parties drafted and agreed should be read to the jury before it heard any proofs — should not be

 controlling because the facts of this case differ from the facts of United States v. Kilpatrick, No.

 10-20403 (E.D. Mich.). Def. 1st Resp. at 4 (Dkt. 679); Def. 2d Resp. at 2-3 (Dkt. 692). In

 making this objection, Defendants argued that, after the Government had presented its evidence,
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 this case was “worlds away” from the evidence in Kilpatrick, which involved “economic

 duress.” Def. 2d Resp. at 2. The Government noted that the preliminary instructions were

 modeled on the Kilpatrick instructions. Govt. 2d Objs. at 2.

        Defendants’ argument was not well-taken and the Court overruled the objection. The

 proofs at trial tracked substantially the gist of the indictment, issued in May 2012, i.e. that

 Defendants were members of a criminal organization that committed acts of violence to protect

 its exclusive right to traffic in drugs within a defined territory. To claim, over two years later,

 that the nature of the case only become apparent was not credible.

        Furthermore, the Court noted that Defendants agreed to the preliminary instructions, as

 reflected in the parties’ joint memorandum submitting them. See Mem. at 2 (Dkt. 589) (“The

 defendants have submitted the attached proposed preliminary jury instructions regarding RICO.

 The defendants take the position that these instructions should be given to the jury unchanged.”).

 Although the preliminary instructions were not immutable, they were an accurate statement of

 the law, to which Defendants stipulated. The Court was not inclined to deviate from them

 drastically without good cause.

        2. Elements of RICO conspiracy

        The parties submitted instructions that address the elements of RICO conspiracy. While

 the Government’s instructions, for the most part, tracked the preliminary instructions by setting

 forth five elements, Defendants’ instructions deviated from the preliminary instructions by listing

 four elements. In support of changing the instructions, Defendants cited to the Seventh Circuit

 pattern instructions, which combine participation in an enterprise with engaging in a pattern of

 racketeering. Defendants also included a definition of conspiracy in their instructions.




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        Upon reviewing the case law, the Court concluded that the five-element format initially

 agreed to by the parties was the clearer approach. By making the element of a defendant’s

 participation in an enterprise distinct from the element of engaging in a pattern of racketeering,

 the Court determined that the jury will more clearly understand these separate parts of the statute.

 Furthermore, the Court agreed with the Government that Defendants’ inclusion of a definition of

 conspiracy from the general conspiracy to defraud the Government statute is not an accurate

 statement of the law, where the RICO statute has a more specific definition of the elements of the

 offense.

        In so ruling, the Court revised the instructions slightly on page 23 of the Government’s

 instructions so that they accurately reflect the law. First, the Court replaced “association of

 persons” with “enterprise” in line four, as “association of persons” is not found in the RICO

 statute, but “enterprise” is. See 18 U.S.C. § 1961(4). Second, the Court added “conduct” to

 element three, so that the pertinent line read: “The defendant knowingly agreed to conduct or

 participate . . .” because this reflects the language of section 1962(c).

        3. Enterprise (association-in-fact)

        The parties submitted instructions that deviated from the preliminary instructions on the

 element of enterprise. Both the Government’s and Defendants’ versions tracked the language of

 Boyle v. United States, 556 U.S. 938 (2009). The main difference was that Defendants’ version

 omitted Boyle’s discussion regarding what does and does not constitute an enterprise, e.g. that an

 enterprise may exist even if a group had no hierarchical structure or chain of command.

 Defendants argued that the Court should not instruct the jury on what does not constitute an

 enterprise because the language in Boyle is a legal discussion not useful to the jury. Def. 2d

 Resp. at 4 (Dkt. 692).



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        Defendants further objected to the use of “Howard Boys” in reference to the enterprise

 element because the “Howard Boys enterprise is an allegation which the Government has the

 burden to prove.” Def. 1st Resp. at 4 (Dkt. 679).

        The parties also disagreed on whether to use “purpose” or “common purpose” as part of

 the definition of enterprise. Govt. 2d Objs. at 3 (Dkt. 684); Def. 2d Resp. at 4 (Dkt. 692).

        The Court overruled Defendants’ objection concerning the language in the instructions

 drawn from Boyle. In order to instruct the jury on the legal definition of “enterprise” under

 RICO, the Court concluded that the language of Boyle was appropriate. There is no more

 definitive expositor of the law of the United States than the Supreme Court, and the language of

 Boyle is neither technical nor jargon-filled; it is eminently accessible to lay people.

        The Court also overruled Defendants’ objection to the instructions’ reference to the

 “Howard Boys enterprise.” The Government alleged that the Howard Boys enterprise existed

 and the jury should be instructed as to find that particular enterprise.

        In using the Government’s instructions on enterprise, however, the Court made a few

 further revisions. First, the Court noted that Boyle and the Government’s instructions both

 referred to “common purpose.” Therefore, the Court used “common purpose” throughout the

 discussion of the enterprise element.

        Second, the Court revised the first line of the second paragraph on page 25 by adding “in

 fact” to “associate,” so that the sentence more closely hewed to the definition of “enterprise” in

 the RICO statute. See 18 U.S.C. § 1961(4) (defining “enterprise” as including any individual,

 partnership, corporation, association, or other legal entity, and any union or group of individuals

 associated in fact although not a legal entity” (emphasis added)). As revised, the sentence reads:




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 “An ‘enterprise’ is any group of individuals who associate in fact with each other for a common

 purpose.”

         Lastly, the Court deleted the citation to Boyle on page 25, as this was unnecessary for the

 jury.

         4. Associated with the Enterprise

         With respect to the second element — “associated with the enterprise” — the parties had

 no disagreement regarding this element in the preliminary instructions. The Government’s

 proposed instructions had no changes. However, the Defendants’ proposed instructions moved

 this definition as a part of their second element, “To conspire to participate and conduct.” Defs.’

 Instructions at 5-7.

         After comparing the instructions, the Court rejected Defendants’ instructions and used the

 Government’s instructions.       The Court found Defendants’ instructions to be unclear and

 requiring extensive revisions to clarify internal inconsistencies.    For instance, page two of

 Defendants’ instructions provided that the second element as: “[T]he defendant was associated

 with the enterprise.”    Id. at 2.    However, on page five, Defendants listed the element as:

 “Element Two: Conspire to Participate and Conduct.”

         In using the Government’s version, the Court revised it slightly. The Court deleted from

 the paragraph two phrases: “often in a loose partnership” and “or he conducts business with or

 through the enterprise.” The Court found that the former phrase was vague, and that the latter

 phrase was inaccurate, because there is nothing criminal in doing business with a criminal

 enterprise to the extent there is no intent to further its mission.

         Furthermore, Defendants wanted language reflecting that a defendant’s mere presence in

 an area does not, by itself, prove that the defendant was associated with the enterprise. Def. 1st



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 Resp. at 4 (Dkt. 679); Def. Instructions at 7. The Government did not object to this language.

 The Court concluded that this language clarifies the law and added it at the end of the

 instructions.

        5. To Agree to Participate Directly or Indirectly in the Affairs of the Enterprise

        Regarding the third element — that the defendant knowingly agreed to conduct or

 participate in the conduct of the Howard Boys enterprise — the parties had no disagreement in

 the preliminary instructions. And the Government’s proposed instructions had no changes.

 Defendants’ instructions collapsed this portion of the instructions into their second element,

 drawing upon the Sixth Circuit pattern instructions for the crime of “Conspiracy to Defraud the

 United States.” Def. Instructions at 5.

        The Government objected to the language offered by Defendants because the conspiracy

 instructions did not comport with the law as relates to RICO. Govt. 1st Obj. at 2 (Dkt. 673);

 Govt. 2d Objs. at 4 (Dkt. 684). In response, Defendants argued that the Government instructions

 provided “examples instead of definitions for the jury to apply.” Def. 1st Resp. at 3 (Dkt. 679).

        The Court overruled Defendants’ objection and used the Government’s proposed

 language. The Government’s proposed language accurately reflects the law used by another

 Judge of this Court. See, e.g., Kilpatrick, 2013 WL 4041866, at *14 (E.D. Mich. Aug. 8, 2013).

 Also, Defendants agreed to this language earlier and offered no compelling reason to deviate

 from it. The Court also believed that providing examples aids lay people’s understanding of

 legal concepts.   Therefore, as these instructions provided appropriate examples, the Court

 determined that the instructions would assist the jury.        Lastly, as mentioned above, the

 incorporation of a conspiracy definition was inappropriate.

        6. Agree to Engage in a Pattern of Racketeering Activity



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        Regarding the element of “Agree to Engage in a Pattern of Racketeering Activity,” the

 Court used the Government’s version of these instructions, with some minor revisions, because it

 was an accurate statement of the law and it was more comprehensive with its incorporation of

 various racketeering acts.

        Defendants objected to the use of “type or types when referring to racketeering activity.”

 Def. First Resp. at 5 (Dkt. 679). Defendants also objected to the first full paragraph on page 32,

 with the sentence beginning, “In determining whether the evidence shows . . . .” Defendants

 argued that this language is vague and that it may allow the jury to convict Defendants on an

 improper basis. Id.

        The Government did not respond to these objections in its papers, but at oral argument on

 July 16, 2014, the Government took issue with the possible omission of “types” in relation to the

 jury’s verdict being “unanimous as to which types of racketeering activity were involved in the

 conspiracy.” The Court had considered replacing “types” with “acts,” but the Government

 argued that, under the prevailing case law, “types” is appropriate because the proofs at trial

 concerned a RICO conspiracy under 1962(d) and not a substantive RICO case under 1962(c).

 Defendants opposed the Government’s position, but could not direct the Court to any authority.

        The Court agreed with Defendants that the paragraph beginning with “In determining

 whether the evidence shows . . . .” was vague. In order to keep the instructions clear, the Court

 deleted the first full paragraph on page 32 from the Government’s instructions. For clarity’s

 sake, the Court also removed the reference to “type” on page 30.

        However, the Court agreed with the Government concerning the references to “types” in

 the instructions regarding unanimity of the types of racketeering activity. As argued by the

 Government, case law amply supported the Government’s proposed instructions because a



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 RICO-conspiracy charge “need not specify the predicate or racketeering acts that the defendants

 agreed would be committed.” United States v. Applins, 637 F.3d 59, 81 (2d Cir. 2011). “[I]t is

 sufficient to allege and prove that the defendants agreed to the commission of multiple violations

 of a specific statutory provision that qualifies as RICO racketeering activity.” Id.; see id. at 80-

 82 (approving instructions stating that the “verdict must be unanimous as to which type or types

 of predicate racketeering activity the defendant agreed would be committed”); see also

 Kilpatrick, 2013 WL 4041866, at *14 (“‘[F]or a charge of RICO conspiracy, a jury need only be

 unanimous as to the types of predicate racketeering acts that the defendant agreed to commit, not

 to the specific predicate acts themselves.’” (quoting United States v. Randall, 661 F.3d 1291,

 1299 (10th Cir. 2011))).

        Lastly, on pages 33-37 of the Government’s proposed instructions, there were numerous

 references to a “co-conspirator” in the discussion of the alleged racketeering acts.            The

 references to a “co-conspirator” appeared to be inconsistent with the instructions’ references to a

 “conspirator” in other parts of the instructions on pages 24, 29-31. Because the parties offered

 no reason to differentiate in usage, the Court instructed the jury using “conspirator.”

        7. Agreement to Commit RICO Offense.

        In the Government’s proposed instructions, there was a section entitled “Agreement to

 Commit RICO Offense.”          The parties had no disagreement relating to the preliminary

 instructions regarding this element.     And the Government’s proposed instructions had no

 changes to the preliminary instructions. Defendants’ proposed instructions omitted this section,

 objecting that there was no authority supporting these instructions and that these instructions

 were redundant. Def. 1st Resp. at 6 (Dkt 679).




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        The Court overruled the objection. Defendants agreed to these instructions before and

 the instructions are not a misstatement of the law. The Court also believed that these instructions

 are helpful for the jury because of the nature of this complicated case.

        8. Interstate Commerce

        The parties had proposed language that was different from the preliminary instructions on

 the interstate commerce element. The primary difference was the language concerning the effect

 on commerce. The Government proposed language that tracked the Seventh Circuit pattern

 instructions by referencing that the alleged conduct needed to have “any degree” of effect on

 commerce. Defendants’ language, citing Waucaush v. United States, 380 F.3d 251 (6th Cir.

 2004), referenced a “substantial effect on Interstate Commerce.”

        In order to convict a defendant under the RICO statute, 18 U.S.C. §§ 1962(c) & (d), the

 Government generally needs to prove “that the enterprise’s racketeering activities had a de

 minimis connection with interstate commerce.” United States v. Gardiner, 463 F.3d 445, 458

 (6th Cir. 2006). It is well-established that drug dealing is quintessential economic activity.

 United States v. Tucker, 90 F.3d 1135, 1140 (6th Cir. 1996). The Sixth Circuit has also held that

 possession of a firearm that traveled through interstate commerce affects interstate commerce.

 United States v. Chesney, 86 F.3d 564, 572 (6th Cir. 1996). However, if an enterprise engages

 only in violence, that activity is non-economic. Waucaush, 380 F.3d at 256. In such instances,

 there must be evidence that the activity had a substantial effect on interstate commerce. Id.

        Here, the Court agreed with the Government’s proposed instructions. At trial, there was

 evidence that the alleged enterprise trafficked drugs, which is economic activity that has effects

 on interstate commerce. The instructions were also clear and followed the Seventh Circuit




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 pattern instructions. The use of “any degree” was also appropriate because this is an acceptable

 layman’s term for “de minimis.” See Gardiner, 463 F.3d at 458.

           The “substantial effect” language of Waucaush was inappropriate. As the Sixth Circuit

 noted, the indictment in Waucaush alleged only violent acts and there was no evidence of any

 economic enterprise.     See Waucaush, 380 F.3d at 253 (indictment only alleged that gang

 protected their turf through murder and attempted murders). Regarding Defendants’ argument

 about the lack of a common pot of money or group economic activity, this did not comport with

 the expansive definition of enterprise, which may be a loose affiliation of individuals that act as a

 “continuing unit that functions with a common purpose.” Boyle, 556 U.S. at 946. Furthermore,

 there was evidence that Defendants shared firearms, drug clients, drugs/product, and cash, i.e.

 the numerous “five-off-the-dub” transactions.

           9. Murder-In-Aid-of-Racketeering Instructions

           The parties submitted competing instructions for the murder-in-aid-of-racketeering

 counts.     The Government’s instructions contained specific instructions for each relevant

 Defendant — Norwood, Jonathan Walker, and Oldham — which also referred to the specific

 victims.    Defendants only had one general instruction, and it did not reference a specific

 Defendant or corresponding alleged victim.

           The Government objected to Defendants’ instructions, arguing that Defendants’

 instructions contain the phrase “substantially affected interstate commerce,” and that Defendants

 did not have a specific position within the enterprise. Govt. Objs. at 3-4 (Dkt. 673). Defendants

 did not have a response to the Government’s objections.

           The Court instructed the jury using the Government’s instructions because these

 instructions were clearer and linked the allegations contained in the indictment with the relevant



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 Defendant and the alleged victim. Furthermore, for the reasons discussed in the interstate

 commerce section, the “substantial affect” on interstate commerce language was not warranted.

        10. Other Instructions

        The parties submitted instructions for (i) impeachment by prior inconsistent statement not

 under oath, (ii) testimony of an accomplice, and (iii) evidence admitted against certain

 defendants only. See Govt. Instructions at 89, 94, and 100; Def. Instructions at 12-14. Both sets

 drew from the Sixth Circuit pattern instructions. The parties had no objections concerning these

 instructions. Upon review, the Court discerned minimal differences that were stylistic and not

 substantive. For ease of reference, the Court used the Government’s proposed instructions.

                                          III. CONCLUSION

        Based on the foregoing, the Court instructed the jury as detailed above.

        SO ORDERED.

 Dated: July 22, 2014                                s/Mark A. Goldsmith
        Flint, Michigan                              MARK A. GOLDSMITH
                                                     United States District Judge

                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon counsel of record
 and any unrepresented parties via the Court's ECF System to their respective email or First Class
 U.S. mail addresses disclosed on the Notice of Electronic Filing on July 22, 2014.

                                                     s/Deborah J. Goltz
                                                     DEBORAH J. GOLTZ
                                                     Case Manager




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